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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF IDAHO

 WESTERN WATERSHEDS PROJECT, and
 CENTER FOR BIOLOGICAL DIVERSITY,                 Case No. 1:18-cv-00187-REB

                 Plaintiffs,

         v.
                                                  STATE OF WYOMING’S MOTION
 RYAN ZINKE, Secretary of Interior; DAVID         TO DISMISS OR IN THE
 BERNHARDT, Deputy Secretary of Interior;         ALTERNATIVE TO TRANSFER
 and UNITED STATES BUREAU OF LAND
 MANAGEMENT, an agency of the United
 States,

                 Defendants,

 STATE OF WYOMING, and WESTERN
 ENERGY ALLIANCE,

                 Intervenor-Defendants.


       Pursuant to Federal Rule of Civil Procedure 12(b)(3), the State of Wyoming hereby moves

to dismiss all claims in the First Amended Complaint (Dkt. No. 78) challenging the Normally
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Pressured Lance Natural Gas Project. In the alternative, Wyoming moves for transfer of those

claims to the District Court for the District of Wyoming under 28 U.S.C. § 1404(a). In support of

these motions, Wyoming offers the attached Memorandum in Support and the Declaration of Bob

Budd.

        The State of Wyoming respectfully requests that this Court grant the State’s motion to

dismiss, or in the alternative, the motion to transfer.

        Dated this 16th day of November, 2018.

                                       THE STATE OF WYOMING



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                                CERTIFICATE OF SERVICE

       I hereby certify that on November 16, 2018, I caused the foregoing to be electronically

filed with the Court using the CM/ECF system, which caused the following parties or counsel to

be served by electronic means, as more fully reflected on the Notice of Electronic Filing:

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